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Form Number LR 3015-1 A (12/15)

                                                                             CHAPTER 13 PLAN
                                                                                                                                                  Case No.:
 Debtor(s): Sharon Hollinquest                                   SS#: xxx-xx-3123                 Net Monthly Earnings:               956.76
                                                                 SS#:                            Number of Dependents:                       0

1. Plan Payments:
   (       ) Debtor(s) propose to pay direct a total of $                                       weekly    bi-weekly       semi-monthly      monthly into the plan; or
    ( X      ) Payroll deduction Order: To        Nemak USA, Inc., 2100 Old Sylacauga Hwy,Sylacauga, AL 35150                                                          for
                                                            $            761.76*     weekly  bi-weekly semi-monthly                                    monthly.

    Length of plan is      60      months, and the total debt to be paid through the plan is $ 47,581.73          .

        Chapter 13 filing fees will be paid through the chapter 13 trustee assigned to the case.
II. From the payments received, the trustee shall make disbursements pursuant to the Bankruptcy Code including:
    A. PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES AND SUPPORT) [See § 1322(a)(2)]
    The following priority claims, if allowed, will be paid in full unless creditor agrees otherwise:
 CREDITOR                                      TYPE OF PRIORITY                                           SCHEDULED AMOUNT                               MONTHLY PAYMENT
 -NONE-
    B. Total Attorney Fee: $ 3,000.00 ; $0.00 paid pre-petition; $ 1300.00 to be paid at confirmation and $ 150.00                                  per month.
    C. The holder of each SECURED claim shall retain the lien securing such claim until a discharge is granted and such claim shall be paid in full with interest in
    deferred cash payments as follows:
            1. Long Term Debts:
                                                                                                                                          Months
                                                                   Amount of                                                             Included Proposed
                                                                   regular Payment             Regular Payments       Arrears to be            in Interest          Proposed Fixed
                                                  Total Amount of  to be Paid                  to begin:                   paid by      Arrearage Rate on              Payment on
 Name of Creditor                                             Debt (check box)                 Month/Year                  Trustee           Amt. Arrearage              Arrearage
                                                                                 by Trustee
                                                                                 by Debtor
 Citi Financial                                       $147,600.43                $750.00 September 2016               $2,200.00           Several       NA                   $39.29
            2. Secured Debts (not long term debts) to be paid through Trustee:
                                     Adequate                                                                                         Proposed      Proposed      Fixed Payment to
                                     Protection     Total Amount                              Unsecured                                Interest         fixed               Begin
 Name of Creditor                    Payments             of Debt        Debtor's Value         Portion Description of Collateral       Rate        Payments         (Month/Year)
 Capital One Auto                                                                                      2015 Nissan
 Finance                             $194.00        $22,943.00           $19,400.00                 NA Frontier                       5.25%        $424.87 Confirmation
III. Other debts (not shown in 1 or 2 above) which Debtor(s) propose to pay direct:
                                                                                          Amount of Regular
 Name of Creditor                                         Total Amount of Debt                     Payment Description of Collateral              Reason for Direct Payment
 -NONE-
IV. Special Provisions (check all applicable boxes):
                  This is an original plan.
                 This is an amended plan replacing plan dated            .
                  This plan proposes to pay unsecured creditors          25.65 %.
                  Other Provisions:
           Regional Finance Of Sylacauga: Debtor(s) intend to avoid lien under 522(f)(1) or 522(f)(2). (2) Debtor proposes to pay the entire balance owed to
           Capital One Auto FInance, as it is a 910 claim and the debtor has not had the subject vehicle the required time. (3) Debtor has a 401(k) loan. The
           balance remaining is approximately $835.27 and it is scheduled to be paid in full on or about December 2016. Debtor proposes to increase her plan
           payments $40.15 per month in January 2017 when this loan is paid in full. (4) .Debtor has a 401(k) loan. The balance remaining is approximately
           $2,485.04 and it is scheduled to be paid in full on or about February 2019. Debtor proposes to increase her plan payments $19.88 per month in JMarch
           2019 when this loan is paid in full.
 Attorney for Debtor Name/Address/Telephone #                        Dated: August 8, 2016                                /s/ Sharon Hollinquest
 /s/William Kenneth Rogers, Jr. ASB
 0868-S57W                                                                                                                Sharon Hollinquest
 32941 US Highway 280                                                                                                     Signature of Debtor
 Suite 103
 Childersburg, AL 35044
 Telephone # 2563787666


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